               Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 1 of 25


Lester Pines

From:                             Lester Pines
Sent:                             Saturday, April27,2019 6:06 PM
To:                               Adam Milasincic;Steve Mitby; Mickey Mills
Cc:                               Heidi Buttchen
Subject:                          RE: Mills MTD Revised
Attachments:                      2019-04-24 Declaration of M.A. Mills (Wisconsin) (with LAP Edits).docx;33G2735-
                                  Memorandum in Support of Motion to Dismiss, Bou-Matic, et alv Mills (W.D. Wis, 19-
                                  cv- 1 sB(LAP versio n 4.27   .1   9).DOCX; 33G27 28-M i ls Motion
                                                                                         I            to   D   ismiss.   DocX


Follow Up Flag:                   Follow up
Flag Status:                      Completed



Steve, Adam and Mickey,

I spent a substantial amount of  time reorganizing and revising the latest version of the motion containing the
                                                                                                      on. I also
supporting memorandum that Adam sent me on Wednesday and which Steve had also made edits
revised Mickey's affidavit and added paragraph attachingthe Harris County Complaint and the
                                                                                                  Anderson
                                                                                                     proofread
litigation hold letter. We are very close to havingthese submissions in finalform.  Although  I have
                                                                                                        work'
the motion, memorandum and affidavit, I am not known as one of the best proofreaders of my own
please review these documents carefully and feel free to make whatever edits and addition that      you find
necessary or helpful.

I dividedthe motion and memorandum of law in support into two separate documents, which is my
preference. They, along with Mickey's revised affidavit, are attached. (Note that I changed the font in all of the
                                                                                                      for judges
documents from Times New Roman to Book Antiqua. I did that because Times New Roman is hard
to read and the 7th circuit strongly encourages the use of fonts, like Book Antiqua, which are used in books,
ratherthan fonts likeTimes New Roman, which comesfrom the LondonTimes, and is designed for newspaper
                                                                                                   preferred.)
readers. The ',book like" fonts are not mandatory in any court in the 7th Circuit, they are merely

                                                                                           is this coming
We have to file the motion, affidavit and memorandum in support no later than May 1, which
                                                                                       and do not yet have
Wednesday. As Steve and Adam are not yet admitted in the Western District of Wisconsin
ECF access in it, we'll need to do the filing here in Madison:


                  Our office has a rule, which the secretaries and paralegals here depend upon to schedule
                  their work, that motions and briefs that needs to be filed under a deadline in court must be
                  completed the day before the filing is due. So, we need to get everything in final form by the
                  close of business on Tuesday, May 30.

To do that I will need all of the attachments to Mickey's affidavit, which are: A:Texas auto registration;
                                                                                                             B:
                                                                                                  l: IRS filing;
Amegy Bank statement; C: insurance statement; D: medical bills; E: synagogue dues statement;
                                                                                                                                J:
                                                                                                        from
Complaint filed in Harris County case; & K: letter from Atty Anderson about litigation hold
                                                                                            on  emails
tablet. Forall oftheseattachments,pleaseensurethatanysocialsecuritynumbers,accountnumbersand
dates of birth are redacted.

Best,


                                                                                                               EXHIBIT E
                              Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 2 of 25


Lester



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S
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From: Adam Milasincic <amilasincic@AZALAW.COM>
Sent: Wednesday, APril 24, 2019 1:40 PM
To: Lester Pines <lpines@pinesbach.com>
Cc: Steve M itby <smitby@AZALAW.COM>
Subject: Mills MTD Revised

Lester,

Here is the revised brief            -   which incorporates your earlier comments                        - for your further   review prior to filing next week.


Thanks,


                                                      Aoam Mtnsluclc
       AnxrB                                           Aftorney
Z,l,vrrs,querg            .
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                Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 3 of 25




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                                                                     3
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                                 THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WISCONSIN


BOU-MATIC, LLC, et al

        Plaintiffs,

  V                                                                    Case              158-SLC

MICHAEL A. MILLS,

        Defendant.

      MEMORANDUM OF LAWIN                                                                         o*ror.r     ro
                 DISMISS


I.       Introduction

         The Plaintiffs                     to                                                on a federal

question with supp                                                      state      breach of fiduciary duty

claims.If                   a1                                                they alternatively rely on a

                 complete                                                         over all of their claims.

                        the Com                        '1T1-65)
                                                                  1,   which is the claim of Plaintiff Bou-

Matic, LLC,       ('                             jurisdiction under 28. U.S.C. S 1331 based the

Computer Fraud & A                        (-CFAA"),18 U.S.C. $ 1030(a)(5). However, Bout-Matic's

claim is insufficient to establish subject matter jurisdiction under 28 U.S.C.                        S 1331


because it has not alleged that the Defendant Michael A.                         Mills ("Mills") destroyed any

computer or damaged any computer and it does not even describe how any actions by



 l Defendant, rather than continually repeat "Dkt. 1" which is the complaint, will hereafter cite to the paragraphs of
the complaint.
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Mills caused recoverable damages that                -at    or in excess the CFAA's jurisdictional

$5,000 damage threshold.

         A second alleged basis for federal jurisdiction that encompasses Counts 1 through

3 is diversity of citizenship under 28 U.S.C $ 1332. For the court to take jurisdiction over

their claim, the Plaintiffs must allege facts to show a                             diversity of citizenship.

Because the Plaintiffs are citizens              of Texas, N                                   (121), the can be

complete diversity of citizenship only                il         is not a ci                one of those states.

Consequently, the Plaintiffs have alleged                              1S      tizen oI          ado despite the

fact that it is well-known that                        1n                       and has slnce 965.2

         Third, were the court to                                    g1                   question jurisdictiory

there is no reason                          to                                                 under 28 U.S.C           S



1367 over the                                 ty                    in Counts II & III.

         F                                                             t I) and Knotts and Knotts CaPital

                ty claim                            is not            to personal jurisdiction in Wisconsin

The com                    not               t         conducted any activity in Wisconsin that would

reasonably                                  tion of being sued here on either the CFAA claim or the

fiduciary duty claims                     III. To the contrary, none of the alleged activities described

in those claims occurred in Wisconsiry negating any basis for personal jurisdiction here.

         Finally, setting aside the complaint's jurisdictional flaws, the entire complaint

should be dismissed, under Rule 12(b)(6) because none of the counts in it allege sufficient


2
  Mills owns a vacation home in Colorado, (Mills Dec. tltll2-16) Most charitably stated, perhaps Plaintiffs failed to
make a sufficient inquuy into where Mills is actually as citizen and assumed that having a vacation home in
Colorado made him a citizen there.
        Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 6 of 25




facts from which the court couid conclude that the Plaintiffs have provided                        it with

sufficient facts in the complaint from which the court could, under the lqbnl andTzoombly

standards, find that their claims are plausible. Among other shortcomings, Plaintiffs do

not identif y any compensable damages that Mills allegedly caused to any of the Plaintiffs

on any of the counts



il.       The Court should dismiss all claims                                     lack of subject-matter
          jurisdiction under 12(b)(1) F.R.Civ.P

             A. Bou-Matic's Computer    Fr                       e Act ("            L8 U.S.C. S
                L030(a)(5) claim (Count I)                    provide with   fe        question
                jurisdiction under 28. U.S.C.                            Bou-             to pleadany
                sufficient facts to     that a                              from           been
                damaged and that                                     ,000, both  of w    are
                necessary Jun                                                 in a CFAA claim.

          Merelv beca                                                c          t as a CFAA claim does

mean that a                                                  comP               not allege sufficient facts

to show                 has                    a             ter and that the Plaintiff has suffered at

least          inl                       .s.c. s               XAXiXI) (setting out $5,000 minimum);

Landmark             Uniona.      tein             .   Srpp. 2d 990, 994 (8.D. Wis. 2010) (quoting Bell

zt.   Hood,327 U.        682-83     )).   See nlso18 U.S.C. $       1030(c)(a)(e)(i)[); Arbaugha' Y€tH

Corp,,546 U.S. 500,                 ), (explaining that amount-in-controversy requirements

in federal statutes restrict subject-matter jurisdiction); and RitLabs, S'R.L' u, RitLabs, Inc',

No. 1:12-CV-215       AJT /IDD,2012WL 6021328,             at *1 (E.D' Va' Nov. 30,2012), (dismissing

CFAA claim for lack of subject-matter jurisdiction because damages were less than

$5,000).
        Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 7 of 25




          Bou-Matic sells dairy equipment. (Complaint, Dkt. 1,               'lT   15). Mills, through Mills.

P.C., served as Bou-Matic's business manager                  from 201,4 to February         2019, when he


resigned.      (tl   15). For Mills' services, Mills, P.C had contracted with Bou-Matic's

controlling owner, John P. Kotts, to receive monthly payments as well as bonus

compensationbased on Bou-Matic's financial performance, Although Kotts paid the 2015

bonus, he ultimately reneged on his promise to pay bonuses for subsequent years. As a




removed data for Htigetion:use, and                                      and tablet to Bou-Matic. (Mills

Dec., Ex.
             -).
                                                                by arranging for removal of the email

coples               on             et.             1y       Anderson's direction, Mills engaged the

servlces                  puter             pr       onal, who transferred the emails from the tablet

to a separate                                    the forensic copy as ordered for litigation purPoses/

and sending the                           to Bou-Matic. (Mills Dec.fl 18)

          Bou-Matic tries to spin these facts into a violation of the CFAA claim. According

to Bou-Matic, Mills deleted "files and contents of his company issued computer tablet,"

which caused Mills to incur putative damages including " attorney's fees." fl1| 62' 65)



3
    Rather than proceec{ in Texas where this case belongs, the Plaintiffs have sued in this court, where there
is no jurisdiction,
        Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 8 of 25




           In its effort to satisfy its jurisdictional burden, Bou-Matic alleges only that it "has

suffered losses aggregating more than $5,000, including but not limited to, the hiring of

inJormation technology professionals                  to restore the damaged computer tablet                  and

attorney's fees!' (Complaint,           lT 65)4.   Those allegations are insufficient and conclusory
                                                                           .::

           First, Bou-Matic never states that how the tablet at,issue was "damaged," let alone

how information technology consultants were neededto "restore" the tablet. To establish

federal-question jurisdiction, Bou-Matic cannot rely on vague assertions. Instead, it has
                                                        ....   .:

the burden to "clearly allege facts that invoke,,federal court j                                        Spectrunt




                                                                                      $5,000   in loss. (fl 65) But

                                                                                      costs   - apart from this
                                                                    and          it must prove that those costs




a. Nichols,s51 F. Stpp. 2d704,710 (N.D. I1l. 2008).

           In sum, Bou-Matic's complaint reveals that Bou-Matic's alleged $5,000 in                          losses


include both (1) prohibited attorneys' fees and (2) investigation of bad acts nowhere




a   In the balance of this memorandum, references to the complaint will be made solely by paragraph number
      Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 9 of 25




pleaded and that, even if true, would not violate the CFAA. Without sufficient evidence to

prove $5,000 in jurisdictional losses, Bou-Matic's complaint, Count I, does not trigger

f ederal-question   jurisdiction.

           B. The CFAA claim appears to be an effort to manufacture federal
               iurisdiction.

       With its missing elements, and                                        p to the fiduciary-duty

claims set out   in Counts II & m of the             c           Bou         s CFAA claim appears

designed to manufacture jurisdiction in                   court over                  w claims. Merely

invoking a federal statute does not create                                                u.s.c.   $ 1331.


Instead, "federal courts are                             to            claims otherwise within their

jurisdiction if they are so            ted                      AS               utely devoid of merit."

Hagansa,Lnuine,                            e74).                                 and "less than serious"

CFAA claim is "                                to                      " Doberstein,T46   F. Supp.   2dat

994

                                                    nonviable for at least two reasons. First, Bou-

Matic's CF                                   of unauthorizedacts.18 U.S.C. $ 1030(a)(5). Bou-Matic

admits, however,                         computer (tablet)to Mills.     (1T31)   Moreover, Bou-Matic's

lawyers not only                    Mills to delete files from the computer, they instructed Mills

to both "confirm that any electronic data has been removed from any storage devices on

which it may currently exist" and return the devices. (Mills. Dec. Ex. 2)5




s      Plaintiffs relayed these instructions in the February 1'l.,2019letter from their attorney, the
same letter that they cite and rely on in paragraph 50 of their Complaint.
     Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 10 of 25




       That is exactly what Mills did. Speciftcally, he arranged for Bou-Matic's emails to

be removed from the computer (tablet), forensically preserved them pursuant to Bou-

Matic's litigation hold notice, and returned the "comprrler" i.e. his cell phone and tablet,

to Bou-Matic. (Mills Dec. l[ 18). Thus, his acts coul               have been "unauthorized."

Despite Mills' compliance with Bou-Matic's req                       the removal of its data from

all devices, Bou-Matic has now sued Mills under the CFAA for removing the data                   as


instructed




       In cases like this one, where the "deleted" datastill exists elsewhere, the plaintiff's

extra work to access the data is not actionable . Dana Ltd, a. Am. Axle     I   Mfg Holdgins, Inc',



6      Even that claim is untrue because, per Bou-Matic's insh'uctions, Mills forensically
preserved the contents of the devices in response to the attorney demand letter he received. (Mills.
Dec 18).
z       In the heading of Count I, Bou-Matic limits its CFAA cause of action to the violations
stated in 18 U.S.C. $ 1030(a)(5), all of which require " datTtage" as an element.
    Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 11 of 25




No. 1:10-CV-450, 2012WL2524008, at *6 (W.D. Mich. |une29,2012) (dismissing CFAA

claim because, although employees deleted files from work-issued computer, there was

no evid.ence the files were original or otherwise irretrievable);                  Cheney         a' IPD Annlytics,

LLC No. 08-23188C1V,           2009   WL 380617L, at *6 (S.D. Fla. Aug. 28, 2009) ("[D]eletion of

files alone does not constitute damage if the deleted data                    still available to the plaintiff

through other means.").

         This court has recognized a similar                                      t blocking someone from

their email account-as opposed to d                        the data in the account- is not "dal:rrage"
                                                                                     ']::'   'j




Fischer u,   ML Oliae Lutheran Clturch,207          F.           2d   91'4:;,'926- 27 (W':Dt       Wis. 2002). The

same is true here. Whether or                        tic can s            s   its emails as they were stored

on Mills' computer, it can still                                 e1              its own server or from the

litigation-hold                           t Bou-                               create

         Faced with a                        claim                possibly plead as a way to federalize

a                                                                 dismiss the claim for lack of subject

matter juiisdiction.     See                   F. Supp. 2d       at994 ("Reviewing the complaint as               it

stands, the             eral                       y insufficient to create jurisdiction and, voiced in

a most   charitable                          serious claim.")

             C. If the                    the CFAA claim, the breach of fiduciary claims
                Counts II & III, must be dismissed for lack of diversity jurisdiction
                because all the parties in those counts are Texas citizens and the Plaintiffs
                have not atleged that they were damaged in an amount exceeding $75,000
                on any of those claims.

                      1,. Mills is domiciled in and        a   citizen of Texas.
         Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 12 of 25




           If   the Court concludes that Plaintiff's CFAA claim does not give the court

jurisdictiorU then d.iversity of citizenship would be the only possible basis for subject-

matter jurisdiction over the remaining claims. As the court well knows, only "complete

diversity" is sufficient to trigger federal jurisdiction under 28 U.S.C. $ 1332(a). Carden u.

Arkoma Assocs., 494        U .5. 185, 187 (1990).


           Complete diversity is lacking here. All four                 admit they are Texas citizens

('1T1T   7-10). In an attempt to create complete                                     the Plaintiffs have

alleged that Mills is a Colorado citizen                    That alle                               as the

Declaration of Michael A. Mills states, he is                            been a           of Texas since

\965 and continues to be a ci                          (Mills       1-3)

           Plaintiffs have the burden of                                   by a preponderance of the

evidence                                     Bd                            416,   4A (7th Cir   2010). A


natural person is      a                          1n        he is domiciled. O'Neal u. Atzual, 425      F.


S.rpp.                                                            a person   "intends to live over the

long              Heinen a                              Corp., 671. F.3d 669, 670 (7th       Cir.   2012)


Determining                                               the totality of circumstances, including

factors such      as                     of employment, driver's license and vehicle registration,

payment of taxes,                     bank accounts, and whether the individual belongs to any

clubs     or organizations.    Nezoell   a. O €t K Steel Corp., 42F. App'x 830, 833 (7th Cit,2002);

O'Neal, 425 F. Supp. 2d at 947.

           Mills has lived and worked in Houston since moving there (from Florida) in1965.

(Mills. Dec. fl 2). Mills started    as an accountant at Tenneco    in Houston, gXaduated from law
     Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 13 of 25




school at the South Texas College of Law in Houstory and has been a member of the Texas

bar since 1968. (Mills Dec.'lfti 3-4) Since the1970s, i\{ills has owned and managed M'A.

Mills, P.C., a Texas professional corporation with its current office at 8811 Gaylord in

Houston. (Mills Dec. fl 4). His driver's license is Texas-             and all of his vehicles are

registered and insured in Texas. (Mills Dec. !f 5)                       bank accounts are with

Amegy Bank in Houstory his brokerage                   with W                in Houston, and his

doctor, denfist, financial advisor, and             attorney are all             Houston. (Mills

Dec.tffl6&8)

        Mills'business and                                                     and Mills receives

all of his important                                                     and credit card-related

documents at his                       8564                             Texas 77055. (Mills Dec.;


]n   7 &r1,4                                          reflected by the residence on his IRS tax

                                          a          of a Houston fitness club and attends

                                 Dec          10)


        The onl        linking         to Colorado is tha! in 2012, he bought a part-time

vacation house in                 or Resort community of Colorado Springs' Mills has tried

to sel| that vacation house since 20'l,6,and it is currently listed for sale, (Mills. Dec.   J[ 15)


Mills has not moved to Colorado. In fact, when he bought the vacation house, he was

working full-time in Houston. (Mills. Dec. fl 13;a g" never used the Colorado vacation




e     Recently, Mills sold his home in Houston and has been temporarily living with his son at
8564 Forum Drive, HoustorL Texas, while the home search continues. Ever since selling his
Houston home, Mills has remained in the market for Houston properties, has a real estate agent
      Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 14 of 25




house as a permanent residence and has never claimed any homestead or other tax

benefit in Colorado. (I\4ills Dec. !f 13)

          Owning a vacation house-even one that a person spends considerable time

visiting-     does not establish citizenship in that state.   "A second home in another state is not
                                                                    ....

unusual, and courts should be cautious about inferring that someone has abandoned                  a




730-31. (7thCir.1'                             house               voter registration and tax filings

to Fl                                                         tizenship where party "intended no

                           manner       1e      life, the      of gravity of which was and remains
                  l   .:



in [Illinois]"').,,'';'

               2. Plaintiffs' have not plead facts to show that they suffered any damages,
                           much less $75,000 in damages, from the fiduciary duty claims alleged in
                           Counts II & III.

          Plaintiffs have not described in their fiduciary-duty claims how they suffercd any

damages at all. Count II, at Paragraph 74, of the Complaint lists Mills' supposed breaches

of fiduciary duty to Bou-Matic and Count III, at ParagraphST, does the same for the Knotts



in Houston, and receives frequent listings from his broker to aid with his continued search for     a
new home in Houston. (Mills Dec., \17)
    Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 15 of 25




plaintiffs fiduciary duty claim. However, while both Count II and Count III alleged that

Bou-Matic and the Knots plaintiff were "damaged," such a conclusory statement is

insufficient to show that anything the Mills did actually caused any damages. For example,

Bou-Matic does allege that any employees quit because of Mills alleged statement or that

that Bou-Matic otherwise lost money as a result of Mills'                   behavior. Nor do either

Bou-Matic or any other plaintiff allege that as a                           that Mills allegedly did

they lost money, customers, valuable                                           tion or anything else.

       The only thing that Bou-Matic                   other plaintiffs         alleged about their

"damages" is that they "suffered damages                             be                  "   fiT'lI 75   &

88) That is fatal to Plaintiffs'                                  because the they have failed to

allege sufficient facts to show that                      th;rt           the fiduciary duty claims

resulted in                              ,000.

III. If the Court c                       it   does     have diversity jurisdiction but that the
       CF              lss                                      question jurisdiction, the Court
                          to              s               jurisdiction over the fiduciary duty
                                               e              would substantially predominate
                 CFAA                          ial economy, fairness, economy and comity favor
                                   ard           pending Texas litigation.

            A.         te law                  claims would predominate over the CFAA claim.

       If the Court concludes that Bou-Matic has sufficiently plead a CFAA claim, that

does not require the cour! through its exercise of supplemental jurisdiction, fedetalize

the state-|aw fiduciary duty claims found in Counts II and III. On those claims, the parties

all reside in Texas. The court should instead decline supplemental jurisdiction because
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the fiduciary-duty claims "substantially predominat[e] over the ICFAA] claim over

which the district court has original jurisdiction." 28 u.s.c. $1367(c)(2).

        To assess which claims predominate, the court may consider "the scope of the state

and federal issues, the terms of proof required by each tyPe of claim, the
comprehensiveness of the remedies, and the ability'tO'dismiss the state claims without

prejudice.   "   Llnited Mine Workers a, Gibbs,3B3 U.S: 715,726-27' (1966).       All of those factors

                                                                            over Bou-Matic's CFAA
                                                                                     ..!

                                                                                     :.




                                                                            plaintiffs, making Bou-

                                                                             support supplemental



                                                                -   the alleged deletion of files from

a                .   In con                                  on (1) Mills' supposed "trash-talking"

about                         the                (2)   Mills' suggestions that Bou-Matic employees

should quit                           1z,   the proof required for a CFAA claim is forensic while

the fiduciary-duty claims appear to involve a number of witnesses and documents.                 See   \
39




                                                                                       *3 (W'D' Wis'
s       Cf, MiIIer a. Interstate Auto Group, Inc.,'L-4-CY-11.6-5LC,201'4WL 4437675, at
Sept. 9, iOf+; laectining to exercise supplementai jurisdiction in part because "[a]fter the initial
deiermination whether the EFTA applies and what it requires, the only question in plaintiff's case
appears to be whether defendant complied with the Act. Defendant's case, on the other hand,
involves an entirely separate - and much larger - set of issues than plaintiff' si').
    Case: 3:22-cv-00066-jdp Document #: 28-5 Filed: 10/21/22 Page 17 of 25




            B. The principles of economy, convenience, fairness and comity direct that
               the fiduciary duty claims be tried in Texas.

       In exercising its discretion about whether to take supplemental jurisdiction over

state law claims, the court must apply "principles of economy, convenience, fairness, and

comity." CityofChicagoa.Int'lColl,ofSurgeons,522U.S.156,172(1997).When"permitting

litigation of all claims in the district court can                   be described as allowing       a


federal tail to wag what is in substance a state do                    supplemental jurisdiction

is the best practrce. De Asencio a. Tyson F              342F.3d             (3rd Cir.2003).

       Using those principles, district   c                  dismiss state               when "the

crux of [the] case is the state law       "   arrd"                    is only          tial." Zurich

Am. Ins. Co. a. Bozuman,2:L                           2010             9, at *2 (D. Nev. Dec.     1.6,



2010) (declining sup                                                             is not the real body


of" the case and "          una           d                            on [computers] is not the

core com                                       Co                Serus, Corp. a. Hnrtman, No. 08-


             WL                       Ca1.             2008) (same)

       In         ysis eq                     this case, one court found:

               In the instant case, the CFAA claim is merely "an appendage" lo
               Dedalus's state law claims, which form the "real body of the case."
               The CFAA claim involves a single allegation-the erasing of the two
               hard drives-that occurred after Dedalus terminated Banach's
               employment. The CFAA claim willlikely involve limited discovery
               and analysis of the narrow legal issue of whether Banach accessed a
               protected computer without asthotization and caused damage to
               ihe hard drives. In contrast, Dedalus's six state law claims revolve
               around allegations that Banach breached her fiduciary duties and
               misappropriated Motherwell's artwork. These allegations focus on a
               -,r.h longer time span than thestate cFAA.claim and are likely to
               involve extensive discovery. The        law claims will also require
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              legal analysis distinct from the CFAA claim. These state law claims
              arl at the heart of this case and substantially predominate over the
              CFAA claim.
                                                            *5 (S.D'N'Y. Oct. 16,2009)
Dedalus Found. u. Banach,No. 09-CIV-2842,2009 WL 3398595,at

The same considerations favor dismissal of the state law claims here

       Finally, the court can easily dismiss the fiduciary -du ty claims without prejudice

The four-year limitations period is nowhere close                                 on those claims; indeed,

Kotts and Bou-Matic are already parties to a                                    volving Mills' same bonus

payments. (Mills Dec. Ex.                  A11   of               tiffs here                re-assert their
                                    -).                                                    suif.         Tsx. R.
fiduciary-duty claims          as counterclaims   or                           in the              See


Ctv. P. 40 (oinder of parties);       51              of claims

       ]udicial economy, convenience, fairness, and comity all counsel in favor of

dismissal. Mills has just appeared in this case, the parties have exchanged no discovery,

and no one has sought the court's intervention yet.

       In Texas, meanwhile, Mills' corporation has already served discovery, Kotts and

Bou-Matic have answered and filed a substantive motion, two hearings are scheduled,

and the parties are conferring about a discovery motion to be filed by Mills'                       See    Ex' 4

(Mitasincic Decl.,   1l          Comity weighs especially heavily in this analysis. The gist of the
                          -)
fiduciary-duty claims is to attack Mills for duties the plaintiffs contend he owed as a

Texas-licensed attorney. The appropriate forum                     for state-law claims between           Texas


parties and their alleged Texas attorney is state court in Texas.
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IV.       The Court should dismiss Counts I and        III   of the Complaint for lack of
          personal jurisdiction.

          Plaintiffs do not assert that Wisconsin courts have general jurisdiction over Mills,

who is subject to general jurisdiction only in the state of               omicile and the state where

he was served-both Texas. Milliken a. Meyer,             J              45 7, 463 (1940).   As its name

suggests, specific personal j                                                  a   claim-specific basis.

Minimum contacts sufficient                                  jurisdic                       one cause of

action might not establish p                                                                is because a

primary purpose of                                      1S              people "fair warrring that       a


p   articular actiuity may            [them]                    of              sovereign."   See   Shffir

u.Heitner,433 U.S.               (1                                                t) (emphasis added).

                                               CS        vital here given the number of plaintiffs

                                the                      t to the CFAA claim and the two state-

law

          A.                 not su       to personal jurisdiction in Wisconsin for the CFAA


          Only Mills'                 contacts relevant to the CFAA claim can support specific

jurisdictionastothatclaim.seeRAR,Inc.a,TurnerDiesel,Ltd.,\07F.3d1272,\277                       (7thCir.

1gg7)    ("W" cannot simply aggregate all of a defendands contacts with a state-no matter


10      The Seventh Circuit has not addressed whether personal jurisdiction is claim-specific, but
other circuits uniformly agree that it is, and district courts here follow the claim-specific approach.
McFadin a. Gerber,s87 F.3d 753,759 (sth Cir. 2009); Remick a, Manfredy,238 F.3d 248, 256-59 (3d
Cir. 2001); Phillips Exeter Academy a. Houard Philttps Fund, Inc., 196 F.3d 284, 289 (1'st Cit. 1999);
e,g., My Canary LfCr, Cessna Aircraft Co., No 16-CV-4000,2017 WL201373, at*2 (N.D. ru. Jan. 18,
Z}17T (V.tsonal jurisdiction is a claim-specific inquiry, and a plaintiff bringing multiple claims
must establish specific jurisdiction for each claim.")'
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how dissimilar     in   terms   of   geography, time,   or   substance-as evidence        of   the

constitutionally-required minimum contacts."). Plaintiffs canrtot "nrierge" together the

Wisconsin facts associated with their other claims, nor can Plaintiffs get by with asserting

"that all claims arise from the same general business enterprise." Hainey u'World AM

Comntunications,Inc.,263 F. Supp. 2d338,344 (D'R.I' 2003):     :   ,,,




       Under this claim-specific framework, Wisconsin courts lack jurisdiction over Miils




       Bou-Matic                      Mills' phone and tablet "had       access   to" Bou-Matic's

servers, but Bou-Matic          accuses   Miils of deleting information from the server'    (l.[ 55)


The mere fact that Mills' phone could access Bou-Matic's server is not a sufficient

jurisdictional contact. For example, inFCStone LLCa. Buckley, an employer sued ex-workers

under the CFAA. During their employmenf all of their work-related emails "wete housed

on the [employer's] servers in Iowa." 864F. Stpp. 2d81.6,820 (S.D. Iowa 2012). The court
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dismissed the CFAA claim, holding that the employees' mere sending of emails through a

server was too incidental a contact to support personal jurisdiction in Iowa. Id.

           Bou-Matic never alleges that Mills deleted or tampered with data in Wisconsin or

data on the server-only that Mills, while out of state, deleted data stored on his mobile

devices.     (1T   S0   & Mills Dec. fl 19). Even if Bou-Matic had        such allegations about the

server, they would be too little to establish                           isconsin.   See   Ray a. Experian,


No. 3:07-CV-1"114-R, 2007 WL 4245459, at*3                      ex.       30, 2007) ("[A]ccessing or


sending data in North Carolina to or                            which           to be headquartered

in Texas is not apurposeful availment by                                the                   protections

of Texas' laws."). In sum, Mills                       1n             related to the deletion of data

on his phone or tablet, and there is                                      requiring Mills to defend

against the CFAA

           B.           Mills                                         inWisconsin for the fiduciarY


                        Bou-                                ther John P. Kotts nor Kotts Capital,

Plaintiffs                      ilI,    their               -or   any other offices-in Wisconsin.

Instead, both                   acl        exas and Kotts Capital is a citizen of Texas and Louisiana.

(,1T1T   6,9, &10)

           Mills has no fiduciary duties to either parf that would arise under Wisconsin law'

Count III alleges nothing that Mills did in Wisconsin to breach any duty to it either Kotts

or Kotts Capital. Mills could have expected to be sued in Wisconsin for his alleged legal

representation in Texas of a Texas resident and a Texas-based corporation.
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       Essentially, Plaintiffs seem to believe that because Kotts (an alleged Mills client)

owns an interest in a Wisconsin company, then Mills could expect to be sued in Wisconsin

over any facts involving Kotts or any Kotts-owned business. Under that theor/, every

attorney would be subject to jurisdiction for a fiduciary-duty suit in every state where the

client happens to own investments. This theory improperlir puts the focus on the plaintiffs'

forum contacts when the relevant inquiry is the                          s purposeful availment.     See



Walden a. Fiore,571 U.S. 277,284 (201'4)    ('W"                                   d attempts to satisfy

the defendant-f ocused'minimum                                by demonstr          contacts between the

plaintiff (or third parties) and the forum Sta

V.     The Court should dismis                    I,II&                     s'complaint for their
       failure to state a claim u                        be

       Even aside                   Jurls                                   claims, in Counts I, II, &

III are missing                         tep               causes ofl'action. Rule 12(b)(6) requires

                                                   a           to relief that is plausible on its face,"

                                            the               conceivable to plausible." Bell Atlantic

Corp a              550 U           5                  Facts, not legal boilerplate, are needed to

sustain a claim.          a         556 U.S. 662, 678 (2009).        If the facts amount to no "more

than the mere                           uct," dismissal is due.Id. at        679


       As described above, the CFAA claim should be dismissed because, among other

reasons, Bou-Moutic lacks adequate allegations on damage, loss, and unauthorized use'

Plaintiffs' remaining claims are likewise nonviable. Although Plaintiffs collapse them

into Counts II & III, the complaint actually contains four fiduciary duty claims:
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         1.   Bou-Matic vs. Mills
         2.   Madison One vs. Mills
         3.   Kotts vs. Mills
         4.   Kotts Capital vs. Mills

Individually    as to each   claim, each plaintiff must show      a   plausible case that (1) Mills owed

a   fiduciary duty to that plaintiff; (2) Mills breached that duty; and (3) the breach of duty

caused damage to that plaintiff. First United Pen                              of Beaumont a, Parker,51,4


S.W.3d 214,220 (Tex.2017); Berner Cheese Corp. a                            WI 95,n 40,312 Wis. 2d251",

270,752 N.W.2d 800,809

         In Counts II and III, the Plaintiffs              connts, allege                  owed duties to

refrain from (1) internecine                     about                  (2)                   Bou-Matic's

employees to quit. (111174,87)Nei                                          ties fits within any traditional

concept of the duty                    For                            do       allege that Mills tried to

poach Bou-Matic'                             a              ven            They merely allege that he

                                                               Plaintiffs identify no authority for

their           that               a                       always speak kindly of Kotts or Kotts

Capital

         Evenif               du                 Mills would owe those duties to at most Bou-Matic

(not to encourage                            to leave) and Kotts (to speak nicely). Under no

configuration can plaintiffs assemble claims whereby Mills somehow owes a fiduciary

duty to Madison One to be nice to Kotts or a duty to Kotts Capital not to encourage Bou-

Matic employees to quit. In short, even if all the alleged conduct were illegal, it would

violate no duties to Madison One or Kotts Capital.
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       Plaintiffs dodge the requirement to make a plausible allegation that Mills caused

any damages. Merely violating a fiduciary duty is not actionable. Even in the attorney-

client context, ptaintiffs must prove that the attorney's breach caused compensable harm.

The Wisconsin Supreme Court discussed this point inKrug.

       In that case, Attorney Krug represented a client,                     Bern in a lawsuit against
competitors. After the competitors sued Krug as a co-defendant, he started recommending
                                                                        .-


that his clients settle. Even assuming this                         to the client's interest and a breach

of duty, the court found no fiduciary-duty                  because "Berner pteqgnted no evidence to


show that the settlement amount was                            it               would,have been absent

Krug's alleged breach of fiduciarY,dutytf'           2008             lT 58-59. Texas   courts follow the

same rule. E.g., Broun u. Green,302 s.w.3d 1,11,                 Ap p.'Hontton [14th Dist.] 2009,no

pet.) (finding no                           claim                             not explain how lawyer's

disclosure of                                  cau           specific harm).
             ....   ...'.r:.'


       Here, the absence of                                    causation and damages are fatal to all

four fiduciary duty                                                 the complaint impiies that Mills

breached his                    iary du                             -Matic employees to quit and      (2)


receive a bonus                           complaint never alleges that any employees did quit or

that any plaintiffs p                        to Mills in    response     to his alleged    improprieties

Effectively, plaintiffs are asserting claims for attemptedbreachof fiduciary duty               - a cause
of action that exists in neither Wisconsin nor Texas. With no workers having quit Bou-

Matic and no bonuses paid to Mills as the result of his alleged misconduct, plaintiff have

no plausible claims for breach of fiduciary duties.
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VI.     Conclusion

        The Court should grant Defendant's motion to dismiss.


                                        Respectfully submitted,

                                        PINES BACH LLP


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